08-13555-mg   Doc 30366-1   Filed 08/24/12 Entered 08/24/12 11:42:30   Exhibit 1
                                    Pg 1 of 2



                                  Exhibit 1
                              08-13555-mg            Doc 30366-1     Filed 08/24/12 Entered 08/24/12 11:42:30           Exhibit 1
                                                                             Pg 2 of 2
                                 IN RE LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                    OMNIBUS OBJECTION 162: EXHIBIT 1 – VALUED DERIVATIVES CLAIMS

                                                                                ASSERTED                                            MODIFIED
                             CLAIM        FILED
            NAME                #         DATE        DEBTOR                         CLASS    AMOUNT          DEBTOR                      CLASS      AMOUNT
1   ELIM PARK BAPTIST         67144     10/22/2010    Lehman Brothers Special     Unsecured    $491,971.72    Lehman Brothers Special    Unsecured    $350,000.00
    HOME, INC., THE                                   Financing Inc.                                          Financing Inc.
    C/O SHARYN B. ZUCH,
    WIGGIN AND DANA
    LLP
    185 ASYLUM ST.,
    CITYPLACE I
    HARTFORD, CT 06103
                                                                                  TOTAL         $491,971.72                              TOTAL         $350,000.00




             * - Indicates claim contains unliquidated and/or undetermined amounts                                         Page 1 of 1
